
BLUE, Chief Judge,
Dissenting.
I respectfully dissent. I in no way condone Mr. Payne’s profane outburst, but that does not excuse the trial court’s failure to provide a proper hearing in compliance with Florida Rule of Criminal Procedure 8.830 before adjudicating Mr. Payne in direct contempt and ordering a sentence of five months and twenty-nine days. The trial court also failed to enter a written order until forty-five days after the oral pronouncement and sentence.
Assuming the contempt sentence was concurrent with the sentence imposed for the violation of probation (for which there is no record support), it could be argued— no harm, no foul. However, this does not excuse what I perceive to be a procedural failure.
